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                        Exhibit 1
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                          UNITED STATES DEPARTMENT OF JUSTICE
                           FEDERAL BUREAU OF INVESTIGATION




On February 12, 2018, Federal Bureau of Investigation (“FBI”) confidential human source
(“CHS”) met with MITCH ENGLANDER. The meeting was consensually recorded. The
following is a transcript of the recording based on FBI Special Agent Andrew Civetti’s review of
the recording. The recording captured the actual words spoken and should be utilized for
evidentiary purposes. The original recording is being maintained in the case file as 1D188.


CHS:                  How are you buddy?
ENGLANDER:            What’s going on? Let’s just drive around the block.
CHS:                  Yeah, uh, I don’t get the ah –
ENGLANDER:            I don’t want to be out there in public anyway.
CHS:                  Oh okay. I don’t get, I don’t get, the brochure yet [laugh].
ENGLANDER:            Oh I know.
CHS:                  I leave it in the office.
ENGLANDER:            I was just trying –
CHS:                  But maybe I give you, next time when you bring the, uh, bring the uh –
ENGLANDER:            Yeah for them to see it.
CHS:                  – the uh, friend, developer.
ENGLANDER:            Yeah, so he can look at it. How you doing?
CHS:                  Doing okay.
ENGLANDER:            So –
CHS:                  Everything good?


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ENGLANDER:       Yeah everything is good by me. So um, so I met with them again –
CHS:             Yes.
ENGLANDER:        – and then basically, they asked me every question like, did you and I
                  ever talk, at all, about me meeting with them. [Unintelligible] We never
                  had that conversation.
CHS:             Oh we never talked?
ENGLANDER:       We never talked about [pause] them.
CHS:             Uh [pause] okay.
ENGLANDER:       I don’t know if you told them the same thing.
CHS:             No, no, no, there’s no, I don’t, I don’t get a, I don’t get the [pause] phone
                 call again from my lawyer yet.
ENGLANDER:       Oh you didn’t –
CHS:             No no, the lawyer only tell me they contact my lawyer concern about the
                 check. But they didn’t say they want the interview. But I don’t know
                 maybe, maybe or maybe not. I don’t know.
ENGLANDER:       So um, they are probably going to contact you again is my guess.
CHS:             You think so?
ENGLANDER:       Yeah and ask, “Did I ever contact you about how much we needed to
                 reimburse?”
                 Just say, say, “I don’t remember. We were trying to get together for a long
                 time but he’s busy and I’m busy, blah blah. We had lunch once, but, and
                 he asked me, you know, said I’ll do the reimbursement and asked how
                 much. So I said I’ll let you know.”
                 That’s it and then they are going to ask you like, “when did I see you
                 last?” and I said, “I saw him last night at my fundraiser.”
CHS:             Fundraiser right? Fundraise?
ENGLANDER:       “Did I talk to you at all, privately?” I said, “Well no, I shook his hand and
                 we just talked about – ”
CHS:             But, we met one time at the BIA event, just ran by.
ENGLANDER:       Yeah, “that was it, saw him at the table, but that was it.”
CHS:             But the, but the –



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ENGLANDER:       But, they were really focused on, have you and I had any conversations
                 about it. I told them the truth, “no, never had any conversations with you
                 about that stuff.”
CHS:             So we don’t, we don’t have ah, but we met, met a couple times, but we
                 don’t discuss. If they ask me, we never discussed?
ENGLANDER:       We never did, never did.
CHS:             Don’t mention it at all?
ENGLANDER:       You didn’t mention it at all.
CHS:             I didn’t mention, you don’t mention it at all.
ENGLANDER:       I didn’t mention and that’s it.
CHS:             Okay, but here’s the thing –
ENGLANDER:       Then if they ask you, “so at the bar, um you know, did you give – ” I said,
                 “yeah I gave him a couple hundred bucks and you said, okay that’s fine.”
                 Then you went back, well, we all went back together. We took a cab back
                 from the bar.
CHS:             Yeah we took a cab.
ENGLANDER:       And then, um “what did you guys do after?” I said, “I went back to bed by
                 myself and went to sleep. That was it, I never saw anybody until the next
                 day, so that was it.”
CHS:             Okay, I see.
ENGLANDER:       That was it.
CHS:             But here’s the thing, I just, ah, there’s my concern, honestly, you know,
                 the chips you give me back, I don’t worry.
ENGLANDER:       Right.
CHS:             But the, only two things. One is they check my credit card expense.
ENGLANDER:       Right.
CHS:             They know how much I spend it, and it, and it –
ENGLANDER:       Oh at the club?
CHS:             Yeah, yeah at the club. Did I mention to you, you know about it?
ENGLANDER:       No. Never.
CHS:             Oh, I didn’t, I never mentioned to you?

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ENGLANDER:       But also, also –
CHS:             But also another thing is about if they check my phone records, I call for
                 the like you know the ah massage girl. And also if they have, if –
ENGLANDER:       No.
CHS:             – I don’t know, seriously –
ENGLANDER:       No.
CHS:             – I don’t know. If they have the video surveillance.
ENGLANDER:       They don’t have anything like that.
CHS:             You don’t think so?
ENGLANDER:       And if they check your phone records and called, just go, “I called just to
                 see how much money, I was curious to see how much money it would be
                 for two, it would be during the night.”
CHS:             So, so just, just say that I, yeah that’s what I’ll –
ENGLANDER:       I would say, “I was so drunk I don’t remember calling. I didn’t arrange
                 anything. – ”
CHS:             So I just say, “I was just drunk. I don’t remember.”
ENGLANDER:       “ – or, I don’t remember, maybe I dialed the wrong number, I don’t know,
                 I don’t remember.”
CHS:             Come on, I made several, several calls.
ENGLANDER:       No, you just say, “I don’t remember.”
CHS:             Okay. Just say, “I don’t remember.” Basically, we don’t have, we don’t
                 have discussions.
ENGLANDER:       No, no, we never had discussions. Nothing ever about Confide. Say um,
                 oh, I can’t make a right. Can’t make a right here.
CHS:             Reality I don’t even know they come to you, so.
ENGLANDER:       No, and ah, ah, “no I didn’t arrange any massage for anybody, no that – ”
CHS:             The only thing I just worry, they check my phone, and the, the, the, look
                 up, oh shit, my cellphone, look up my, my, my, my, phone records and
                 they check that phone number.
ENGLANDER:       Right, so if they did –
CHS:             That’s the, that’s the thing, because those things you can’t say, “you
                 don’t.”

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ENGLANDER:       Right, then you just say, “Yeah, I was calling to find out prices. I was
                 curious about the price and I never did anything about it.”
CHS:             So basically, we don’t talk at all even though I met you a couple times
                 after?
ENGLANDER:       We never talked, yeah, the only thing I ever asked when, every time I saw
                 you was, I mentioned I need to pay you back for the rooms. I need to get
                 an amount, so you said, “okay, I’ll let you know.”
CHS:             Okay, okay, I get it.
ENGLANDER:       If they say, “why did you not know the amount” say, “because the rooms
                 were comped.”
CHS:             We don’t, we don’t get to meet basically.
ENGLANDER:       We never, yeah, so that was, it’s not, and that’s it. So we never had
                 conversation.
CHS:             Okay.
ENGLANDER:       And there’s, “well you were at his fundraiser, didn’t you talk to him at the
                 fundraiser?” Say, “there was 200 people there, he shook my hand and said
                 hello. That was it.”
CHS:             Yeah, there’s a lot of people.
ENGLANDER:       Yeah, lot of people there.
CHS:             So we don’t talk at all.
ENGLANDER:       That was it.
CHS:             Okay, I got it.
ENGLANDER:       I think that’s it and we will be done with it. That’s all they, there’s
                 nothing there, so –
CHS:             Yeah, oh I just worried that fucking they have video surveillance (laugh),
                 phone records, and I think, I think the club thing is not a big deal –
ENGLANDER:       So, so –
CHS:             Because even if they check my credit card expense, so what if its open
                 table, there is many people.
ENGLANDER:       Right, that’s what I said and they go, “oh okay” and were fine with that.
                 They seem okay with all that stuff. They seem okay with all that. Say
                 well, “what took him so long to get you a check back?” Just say, “Because
                 he asked me a couple times how much does he owe me, he and John owe


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                 me, and I didn’t have an amount. I said I’ll let you know and we just, we
                 never connected – ”
CHS:             I get it.
ENGLANDER:       “– it wasn’t a big deal, I was going to get it.”
CHS:             Yeah, if I get the ah, phone call for next interview, I, I let you know.
ENGLANDER:       Yeah, okay, let me know. But the uh, uh, I think, uh, I think we’re fine.
                 And if they check, it they do check phone records, which they haven’t,
                 they haven’t done mine and even if they did say, “well what are these
                 numbers you called before” say, “Yeah, I was just calling getting a price.”
                 They say, “You didn’t hire anybody” say, “no, I didn’t hire anybody.”
CHS:             Okay, so you go out of town later this week?
ENGLANDER:       Tomorrow morning.
CHS:             Oh okay, alright no problem. So whenever you have a chance to introduce
                 your friend.
ENGLANDER:       No I will.
CHS:             Let me know.
ENGLANDER:       I want to get a tour of it too.
CHS:             Oh of course.
ENGLANDER:       So I wanted to touch base with you.
CHS:             Yeah, I get it. So if I get any, any, I’ll text you.
ENGLANDER:       Alright brother.
CHS:             Take care.
ENGLANDER:       Sorry for the short notice.
CHS:             No problem.




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